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                     Exhibit 20
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                Transfers Through Arab Bank- New York to
       Arab Bank Accounts of HAMAS Leaders and Operatives in Gaza
                              (2000-2002)
  Sheikh                Halima Hasan               Salah                     Ismail                   Ismail Abu
Ahmad Yassin               Yassin                 Shehada                    Haniyeh                    Shanab




  $60,000                 $153,435                $109,500                   $420,100                  $173,172
      Account                  Account                  Account                  Account                    Account
       #36444               #244139510               #349321510                #63517500                 #236519510


Abd Al-Hakim            Muhammad                   Ghazi                Riyad Husain                  Baha al-Din
al-Manaameh              Shama’a                   Hamad                  Abu Zaid                    al-Madhun




 $119,435                $144,000                 $152,986                   $25,000                   $19,500
      Account                   Account                 Account                   Account                  Account
   #262390510                #513636510             #1170465510                #300136510               #301531510
                                                                                                                      18
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                    Transfers Through Arab Bank-New York to
        Arab Bank Accounts of HAMAS Leaders and Operatives in West Bank
                                  (2000-2002)
   Abbas                          Salah al-Din                       Jamal                             Jamal
  al-Sayed                         Darwaza                           Salim                             Mansur




 $123,000                          $302,000                         $13,500                           $85,000
        Account                     Wife’s Account                       Account                       Wife’s Account
   #90705094240                      #4286871510                     #4033906500                        #4064788500


Abd al-Khaleq                   Mahdi Shaker                 Khaled Muhammad                         Nada Jamal
 al-Natsheh                      al-Hanbali                     Amin al-Haj                           al-Jayousi




   $15,000                         $397,450                        $177,500                           $610,000
       Account                           Account                           Account                         Account
   #7567847510                       #4026306510                       #5678110510                     #6057209500
                                                                                                                     19
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